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IN THE UNITED sTATEs DISTRICT couRT ¥Ii.ED m'__ o'.'f§.
FoR THE wEsTERN DISTRICT or TENNESSEE
wEsTERN DIvIsIoN 95 AU[; -| m 3; m

 

 

CASSANDRA LYNN MAXWELL,

Petitioner,

Cv. NO. 04-2734-B/P

vs. Cr. No. O2-20032-B(G)

UNITED STATES OF AMERICA,

Respondent.

>-<>-<>-<>-<>-<>-<><>-<>-<><>-<

 

ORDER DENYING MOTION FOR EXTENSION OF TIME
ORDER DENYING MOTION PURSUANT TO 28 U.S.C. § 2255
ORDER DENYING CERTIFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Defendant Cassandra Lynn Maxwell, Bureau of Prisons inmate
registration number 18166-0?6, who is currently an inmate at the
Federal Prison Camp in Alderson, West Virginia, filed a Q;Q §§ motion
pursuant to 28 U.S.C. § 2255 on September 16, 2004, along with a
motion seeking an extension of time to file a supporting memorandum.
She filed her memorandum on December 13, 2004 and, therefore, the
motion for an extension of time is DENIED as moot. On February 25,
2005, Maxwell filed a document entitled “Amendment to 28 U.S.C. § 2255
to Vacate, Modify or Correct Sentence.” On May 27, 2005, Maxwell
informed the clerk of her change of address.

On February 5, 2002, a federal grand jury in the Western
District of Tennessee returned a three-count indictment against
Maxwell. The first count charged that, on or about August l7, 2001,

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w|th Rule 58 and/or 79(&) FHCP on " "

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she possessed a mixture and substance containing a detectable amount
of methamphetamine with the intent to distribute, in violation of 21
U.S.C. § Bél(a)(l). The second count alleged the same criminal
conduct, except that it occurred on or about August 22, 2001, in
violation of 21 U.S.C. § 841(a)(1). The third count also claimed a
violation of 21 U.S.C. § 84l{a)(l) by Maxwell involving
methamphetamine occurring on or about August 28, 2001. The grand jury
returned a four-count superseding indictment on June 11, 2002 that
realleged the first three counts of the original indictment and added
a fourth count, charging that Maxwell, on or about September 5, 2001,
possessed a substance containing five or more grams of pure
methamphetamine with the intent to distribute, in violation of 21
U.S.C. § 84l(a)(1).

Pursuant to a written plea agreement dated August 1, 2002,
Maxwell appeared before then-District Judge Julia Smith Gibbons on
August 12, 2002 to plead guilty to the third count of the superseding
indictment. Judge Gibbons conducted a sentencing hearing on November
1, 2002, at which time Maxwell received ninety-seven (97) months
imprisonment, to be followed by a three-year period of supervised

release.l Judgment was entered on November 5, 2002. The United States

 

1 The first paragraph of the Memorandum of Plea Agreement provided, in
pertinent part, that the Government recommended that Maxwell receive a base offense
level of 32, pursuant to United, States Sentencing Guideline ("U.S.S.G.") §
201.1(c)(4), based on a drug quantity between 500 grams and one kilogram. Maxwell
received a two-point reduction, pursuant to U.S.S.G. § 2D1.1(b)(6), because she
qualified for the safety-valve reduction set forth in U.S.S.G. § 501.2, resulting
in a total offense level of 30. Despite her guilty plea, Maxwell was not afforded
a reduction for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, because
of her arrest on August 18, 2002 for possession of methamphetamine. Given her
criminal history level of I, the guidelines provided a sentencing range from 97-121
months. Because Maxwell qualified for the safety valve, pursuant to U.S.S.G. §

(continued...)

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Court of Appeals for the Sixth Circuit affirmed Maxwell's sentence.
United States v. Maxwell, 75 Fed. Appx. 436 (Sept. 12, 2003).

In her original § 2255 motion, which was filed on September

16, 2004, Maxwell raised the following issues:

1. She received ineffective assistance of trial counsel,
in violation of the Sixth Amendment;

2. The prosecutors engaged in misconduct; and

3. She received ineffective assistance of appellate

counsel, in violation of the Sixth Amendment.

In her legal memorandum, which was filed on December 13, 2004, Maxwell
set forth additional grounds in support of her claim that her counsel
rendered ineffective assistance and asserted that the Government
engaged in prosecutorial misconduct by failing' to file a motion
pursuant to § 5K1.l of the United States Sentencing Guidelines. In her
February 25, 2005 filing, Maxwell asserted that she is entitled to
relief on the basis of the Supreme Court’s recent decision in United
States v. Booker, 125 S. Ct. 158 (2005). The Court will address each
of these issues in turn.

In her first claim for relief, Maxwell contends that her
trial counsel rendered ineffective assistance, in violation of the
Sixth Amendment. The facts Maxwell set forth with respect to this
issue in her original motion consisted, in their entirety, of the
following:

Counsel was ineffective concerning the following:

 

1. Failure to amend Pre-Sentencing report
2. lnvestigation or preparation
l (. . . continued)

5C1.2, she avoided the ten-year mandatory minimum sentence for a drug offense
involving 50 grams or more of methamphetamine. See 21 U.S.C. § 841(b) (1) (A) (viii).

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Drug quantity

Amending inaccurate materials
Sentencing phase

Counsel gave erroneous advice

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Likewise, in the third issue in her original motion, Maxwell argued
that her appellate counsel rendered ineffective assistance because he
“argued an inappropriate defense.”

As a preliminary matter, Maxwell’s presentation of this
issue does not comply with Rule 2(b) of the Rules Governing § 2255
Proceedings for the United States District Courts (“Section 2255
Rules”), which requires, inter alia, that the motion “shall specify
all the grounds for relief which are available to the movant and of
which [she] has or, by the exercise of reasonable diligence, shall
have knowledge and shall set forth in summary form the facts
supporting each of the grounds thus specified."2 Although the Sixth
Circuit has not had occasion to address the pleading standards
applicable to § 2255 motions, the Second Circuit has stated as
follows:

To warrant plenary presentation of evidence, the application
must contain assertions of fact that a petitioner is in a

position to establish by competent evidence. . . . Whether
there is a genuine issue of material fact depends upon the
sufficiency of those factual allegations. Airy

generalities, conclusory assertions and hearsay statements
will not suffice because none of these would be admissible
evidence at a hearing.
United States v. Aiello, 814 F.Zd 109, 113-14 (2d Cir. 1987)
(citations omitted); accord Tavlor v. United States, 28? F.3d 658, 661

(7th Cir. 2002) (noting that, while notice pleading is the standard

 

2 Since this motion was filed, a new version of the Section 2255 Rules

took effect. The provisions quoted in the text are restated, in slightly different
form, in Rule 2(b)(1) & (2).

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in ordinary civil litigation, “Rule 2(b) departs from Rule 8 [of the
Federal Rules of Civil Procedure] by requiring some fact pleading”}.

Maxwell’s presentation of her first and third issues does
not state the facts supporting her ineffective assistance claims with
sufficient specificity to permit the Court to ascertain the basis for
those claims. Although the Court ordinarily would order the defendant
to file an amended motion that specifies the factual basis for her
motion, see Section 2255 Rules, Rule 2 advisory committee’s notes to
2004 Amendments, that course is unnecessary in this case because
Maxwell filed a legal memorandum on December 13, 2004 that sets forth
the factual basis for her ineffective assistance claims. Accordingly,
the Court will address these claims as modified by Maxwell’s December
13, 2004 filing.

In her December 13, 2004 submission, Maxwell contended that
her attorney rendered ineffective assistance by (a) failing to object
to the indictment, which did not specify any drug quantity; (b)
failing to file a notice of appeal or to argue his own ineffectiveness
on direct appeal; and © urging her to plead guilty to her state cases
so the sentences would run concurrent and then did not request that
the sentences be concurrent.

A claim that ineffective assistance of counsel has deprived
a defendant of his Sixth Amendment right to counsel is controlled by
the standards enunciated in Strickland v. Washington, 466 U.S. 668,
687 (1984):

A convicted defendant’s claim that counsel's assistance

was so defective as to require reversal of a conviction or
death sentence has two components. First, the defendant must

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show that counsel’s performance was deficient. This requires
showing that counsel made errors so serious that counsel was
not functioning as the “counsel” guaranteed the defendant
by the Sixth Amendment. Second, the deficient performance
prejudiced the defense. This requires showing that counsel’s
errors were so serious as to deprive the defendant of a fair
trial, a trial whose result is reliable. Unless a defendant
makes both showings, it cannot be said that the conviction
or death sentence resulted from a breakdown in the adversary
process that renders the result unreliable

In order to demonstrate deficient performance by counsel,
a defendant must demonstrate that “counsel's representation fell below
an objective standard of reasonableness.” Id. at 688.

Judicial scrutiny of counsel’s performance must be
highly deferential. lt is all too tempting for a defendant
to second-guess counsel’s assistance after conviction or
adverse sentence, and it is all too easy for a court,
examining counsel’s defense after it has proved
unsuccessful, to conclude that a particular act or omission
of counsel was unreasonable. . . . A fair assessment of
attorney performance requires that every effort be made to
eliminate the distorting effects of hindsight, to
reconstruct the circumstances of counsel’s challenged
conduct, and to evaluate the conduct from counsel’s
perspective at the time. Because of the difficulties
inherent in making the evaluation, a court must indulge a
strong presumption that counsel’s conduct falls within the
wide range of reasonable professional assistance; that is,
the defendant must overcome the presumption that, under the
circumstances, the challenged action “might be considered
sound trial strategy.”

lgL_at 689 (citation omitted}; see also Coe v. Bell, 161 F.3d 320, 342
(6th Cir. 1999) (“The specifics of what Coe claims an effective lawyer
would have done for him are too voluminous to detail here. They also
largely miss the point: just as (or more) important as what the lawyer
missed is what he did not miss. That is, we focus on the adequacy or
inadequacy of counsel’s actual performance, not counsel’s (hindsight)
potential for improvement.”); Adams v. Jago, 703 F.2d 978, 981 (6th

Cir. 1983) (“a defendant ‘has not been denied effective assistance by

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erroneous tactical decisions if, at the time, the decisions would have
seemed reasonable to the competent trial attorney'”).

A prisoner attacking his conviction bears the burden of
establishing that he suffered some prejudice from his attorney's
ineffectiveness. Lewis v. Alexander, 11 F.3d 1349, 1352 (6th Cir.
1993); lsabel v. United States, 980 F.2d 60r 64 (1st Cir. 1992). “[A]
court need not determine whether counsel’s performance was deficient
before examining the prejudice suffered by the defendant.” Strickland,
466 U.S. at 697. lf a reviewing court finds a lack of prejudice, it
need not determine whether, in fact, counsel’s performance was
deficient. ld; at 697.

To demonstrate prejudice, a prisoner~ must establish “a
reasonable probability that, but for counsel’s unprofessional errors,
the result of the proceeding would have been different.” ld; at 694.
“A reasonable probability is a probability sufficient to undermine
confidence in the outcome.” ld; Additionally, however, in analyzing
prejudice,

the right to the effective assistance of counsel is
recognized not for its own sake, but because of the effect
it has on the ability of the accused to receive a fair
trial. Absent some effect of the challenged conduct on the
reliability of the trial process, the Sixth Amendment

guarantee is generally not implicated.

Lockhart v. Fretwell, 506 U.S. 364, 368 (1993) (citing United States

 

v. Cronic, 466 U.S. 648, 658 (1984)); see also Strickland, 466 U.S.
at 686 (“The benchmark for judging any claim of ineffectiveness must
be whether counsel’s conduct so undermined the proper functioning of

the adversarial process that the trial cannot be relied on as having

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produced a just result.”). “Thus analysis focusing solely on mere
outcome determination, without attention to whether the result of the
proceeding was fundamentally unfair or unreliable, is defective.”
Lockhart, 506 U.S. at 369.

Maxwell first argues that her attorney rendered ineffective
assistance by failing to object to the indictment, which did not
allege any drug quantities (except for the fourth count of the
superseding indictment, which was dismissed pursuant to the plea
agreement). However, as Maxwell does not explain precisely how her
attorney should have handled the issue, it is not possible to conclude
that she suffered any prejudice.

The fact that an indictment does not allege a drug quantity
does not deprive a district court of jurisdiction. United States v.
Causey, 92 Fed. Appx. 306r 308 (6th Cir. Mar. 18, 2004) (citing United
States v. Cotton, 535 U.S. 625, 630-31 (2002)). Moreover, “[t}he
government's failure to allege a drug quantity [in the indictment]
does not render a drug distribution indictment constitutionally
infirm.” United States v. Stewart, 306 F.3d 296, 310 (6th Cir. 2002).
Therefore, the Sixth Circuit explained that an attorney does not
render ineffective assistance by failing to file a motion to dismiss
the indictment because “the only logical outcome of such a challenge
would be for the government to replace the charge under 21 U.S.C. §
841 with a more specific charge, specifically alleging' a drug
quantity, which might expose the defendant to a higher statutory
penalty range.” fda Accordingly, Maxwell was not prejudiced by her

attorney’s failure to file a motion to dismiss the indictment.

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Although counsel could perhaps have raised the issue at the
sentencing hearing, Maxwell has not demonstrated that she was
prejudiced by counsel’s failure to do so. Although Maxwell asserts
that her sentence is invalid in light of the Supreme Court’s decision
in Blakelv v. Washinqton, 542 U.S. 296, 124 S. Ct. 2531 (2004), that
decision was not issued until after the conclusion of direct review.3
“As a general rule, new constitutional decisions are not applied
retroactively to cases that were finalized prior to a new Supreme
Court decision.” Goode v. United States, 305 F.3d 378, 383 (6th Cir.
2002); see Schriro v. Summerlin, 542 U.S. 348, 124 S. Ct. 2519, 2522-
26 (2004) (finding that Ring v. Arizona, which held that a sentencing
judge in a capital case may not find an aggravating factor necessary
for imposition of the death penalty, and that the Sixth Amendment
requires that those circumstances be found by a jury, does not apply
retroactively to cases on collateral review); league_y;_§anej 489 U.S.
288 (l989). Applying these standards, the Sixth Circuit has held that
Blakely and Booker issues cannot be raised in an initial motion
pursuant to 28 U.S.C. § 2255. Humphress v. United States, 398 F.3d
855, 860-63 (6th Cir. 2005). Accordingly, in analyzing the issue of
prejudice, the Court may not consider the effect of §lakely and §ggker

on Maxwell's sentence.4

 

3 Maxwell also presumably would cite to United States v. Booker, U.S.

w__, 125 S. Ct. 758 (2005).
4 The unavailability of Blakely and Booker effectively forecloses this
prisoner from establishing prejudice under the facts in this case. Although the
indictment herein arose out of several drug sales by Maxwell to a confidential
informant and searches of her person and residence, she was sentenced on the basis
of her admission that she sold a gram and a half of methamphetamine every day for
(continued...)

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Maxwell also cites the Supreme Court's decision in Apprendi
v. New Jersey, 530 U.S. 466 (2000), which was available at the time
of her sentencing. Where, as here, an indictment does not allege a
specific drug quantity, the Sixth Circuit has interpreted Apprendi as
requiring that the defendant “should be sentenced under 21 U.S.C. §
841(b)(1)©, which establishes the statutory default maximum sentences
and does not require as an element of the offense a specific quantity
of drugs.” Stewart, 306 F.3d at 310. The statutory maximum punishment
for a violation of 21 U.S.C. § 841(b)(1)© is twenty years. Because
Maxwell's sentence of ninety-seven (97) months is less than the
statutory maximum, there was no Apprendi violation. United States v.
Copeland, 304 F.3d 533, 553 (6th Cir. 2002); United, States v.
Leachman, 309 F.3d 377, 381-83 (6th Cir. 2002). Because Maxwell has
failed, to demonstrate that she was prejudiced. by her attorney's
failure to raise the fact that the indictment did not allege a drug
quantity, this issue is without merit.5

Maxwell also contends that her appellate counsel failed to
file a notice of appeal or to argue his own ineffectiveness on appeal.
The gist of this argument is not clear, as Maxwell’s trial counsel did
not represent her on appeal. lt is, therefore, unclear, whether the

prisoner contends her appellate counsel should have argued her trial

 

4 (...continued)

three years. §§e U.S.S.G. § 181.3(a) (relevant conduct). Even if the indictment did
specify drug quantities, the stipulated drug quantity in the plea agreement far
exceeds the amount of drugs at issue in the four transactions in the indictment.

5 In light of the absence of a drug quantity in the indictment, the
presentence report erroneously stated that the defendant was subject to the
mandatory statutory minimum sentence in 21 U.S.C. § 841(b)(1)(A)(viii). However,
Maxwell was not prejudiced by that error because the sentencing judge concluded that
she qualified for the safety valve. §ee supra pp. 2-3 n.1.

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counsel was ineffective or whether he should have argued that he
himself was ineffective. Regardless of what Maxwell intended, this
argument is without merit. Appellate counsel filed a timely notice of
appeal on November 13, 2002. Moreover, the Supreme Court has held that
issues concerning the performance of a federal prisoner’s trial
counsel should be reserved for a motion pursuant to 28 U.S.C. § 2255,
where the factual record may be fully developed. See Massaro v. United
States, 538 U.S. 500 (2003). Accordingly, this issue is without merit.

Maxwell also contends that the Government engaged in
prosecutorial misconduct by failing to file a nwtion pursuant to
U.S.S.G. § 5Kl.l. ln her December 13, 2004 filing, Maxwell asserts
that the Government represented to her at some unstated time that she
would receive a § 5K1.1. Maxwell also contends that she provided
unspecified information that led to a major prosecution, which she
does not identify, and that her arrest while awaiting sentencing
should not have affected the Government’s decision whether to file a
§ 5K1.l motion.

The Court has no power to reduce Maxwell's sentence pursuant
to § 5K1.1 unless the Government files a motion asking for a
reduction. Moreover, Rule 35(b) affords the Government “a power, not
a duty, to file a motion when a defendant has substantially assisted.”
Wade v. United States, 504 U.S. 181, 185 (1992) (interpreting §
3553(e) and U.S.S.G. § 5Kl.1); see In re Sealed Case No. 97-3112, 181
F.3d 128 (D.C. Cir. 1999) (en banc) (court has no authority to depart
from the applicable Guideline range when the government declines to

file a motion under § 3553(e) and U.S.S.G. § 5K1.l); see also United

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States v. Marks, 244 F.3d 971, 973 n.l (8th Cir. 2001) (Rule 35(b)

 

should be construed in light of § 3553(e) and U.S.S.G. § 5K1.1)
(collecting cases}. Although prosecutorial discretion is not absolute,
the circumstances under which it is subject to challenge are narrow.
A federal court can consider whether a prosecutor’s refusal to file
a Rule 35(b) motion breaches any legally enforceable agreement with

the defendant. See, e.g., Marks, 244 F.3d at 971. Moreover,

 

 

federal district courts have authority to review a
prosecutor’s refusal to file a substantial-assistance motion
and to grant a remedy if they find that the refusal was
based on an unconstitutional motive. Thus, a defendant would
be entitled to relief if a prosecutor refused to file a
substantial-assistancelnotion, say, because of ardefendant's
race or religion.
Wade, 504 U.S. at 185-86.

Although an unambiguous promise to file a sentence-reduction
motion may be subject to specific performance, “[wlhere . . . the
government has reserved its discretion, the AUSA’s refusal to file a
substantial assistance motion should be treated as any other
discretionary decision made by a prosecutor.” Marks, 244 F.3d at 975;
see also United States v. Evans, No. 95-5144, 1996 WL 167484, at *5
(10th Cir. Apr. 10, 1996) (“The motion and record before us show no
indication that the government ever agreed to file a Rule 35(b) motion
in exchange for Evans’ later assistance, obviating the need for an
inquiry into the government’s good faith.”).

ln this case, Maxwell has come forward with no evidence that
she entered into a legally enforceable agreement with the Government.

Her written plea agreement does not mention the possibility of a §

5K1.1 motion, and she admitted at her change of plea hearing that no

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promises and representations had been made as to what her sentence
would be. 08/01/02 Tr. at 9. At the sentencing hearing, the prosecutor
made the following statements about the Government’s effort to work

with Maxwell:

Ms. Maxwell was, she represented that she would cooperate
with us, and we were working with her. As Ms. Skahan said,r
problems began to develop, and then we had the situation
which she was arrested on the 18th, and she was arrested for
really the same thing that she had pleaded guilty to. So we
have a situation where someone is originally prosecuted for
selling methamphetamine, pled guilty to that, and then still
does it. And of course at that point the cooperation
arrangement and the prospect of [al substantial assistance
reduction were off the table because we just can’t continue
to do business with someone under these circumstances where
they are going to continue to be involved in criminal
conduct.

And these requirements were spelled out on the front
end of trying to work with her. And, obviously, they are
almost things that really shouldn’t have to be said because
it is obvious that we are not going to enter into a
cooperation arrangement with someone who is going to
continue to be involved in criminal activity.

11/01/02 Tr. at 6-7.

The vague assertions in Maxwell's motion are insufficient
to demonstrate that the Government entered into a legally enforceable
cooperation agreement and that Maxwell fully performed her end of the
deal. Moreover, Maxwell has not presented any basis for concluding
that the Government's failure to file a § 5Kl.l motion due to her
continued criminal conduct was the result of bad faith. Accordingly,
this issue is without merit.

ln her February 25, 2005 filing, Maxwell argued that she is

entitled to relief on the basis of Booker. As previously stated,

however, see supra p. 9, Booker issues cannot be raised in § 2255

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motions where the defendant's conviction became final prior to the
issuance of that decision.

The motion, together with the files and record in this case
“conclusively show that the prisoner is entitled to no relief." 28
U.S.C. § 2255; see also Rule 4(b), Rules Governing Section 2255
Proceedings in the United States District Courts. Therefore, the Court
finds that a response is not required from the United States Attorney
and that the motion may be resolved without an evidentiary hearing.
United States v. Johnson, 327 U.S. 106, 111 (1946); Baker v. United
States, 781 F.2d 85, 92 (6th Cir. 1986}. Defendant's conviction and
sentence are valid and therefore, her motion is DENIED.

Consideration must also be given to issues that may occur
if the defendant files a notice of appeal. Twenty-eight U.S.C. §
2253(a) requires the district court to evaluate the appealability of
its decision denying a § 2255 motion and to issue a certificate of
appealability (“COA”) only if “the applicant has made a substantial
showing of the denial of a constitutional right.” 28 U.S.C. §
2253(c)(2); see also Fed. R. App. P. 22{b); Lyons v. Ohio Adult Parole
§uth;, 105 F.3d 1063, 1073 (6th Cir. 1997) (district judges may issue
certificates of appealability under the AEDPA). No § 2255 movant may
appeal without this certificate.

ln Slack v. McDaniel, 529 U.S. 473, 483-84 {2000), the
Supreme Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether (or,

for that matter, agree that) the petition should have been resolved

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in a different manner or that the issues presented were “‘adequate to
deserve encouragement to proceed further.'” §lagk, 529 U.S. at 484
(quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue
limitations on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require a
showing that the appeal will succeed. Accordingly, a court
of appeals should not decline the application of a COA
merely because it believes the applicant will not
demonstrate an entitlement to relief. The holding in Slack
would mean very little if appellate review were denied
because the prisoner did not convince a judge, or, for that
matter, three judges, that he or she would prevail. lt is
consistent with § 2253 that a COA will issue in some
instances where there is no certainty of ultimate relief.
After all, when a COA is sought, the whole premise is that
the prisoner “‘has already failed in that endeavor.'”

Miller-El v. Cockrell, 537 U.S. 322, 337 (2003) (quoting li’>arefoot,r 463
U.S. at 893). Thus,

[al prisoner seeking a COA must prove “‘something more than
the absence of frivolity’” or the existence of mere “good
faith” on his or her part. . . . We do not require
petitioners to prove, before the issuance of a COA, that
some jurists would grant the petition for habeas corpus.
lndeed, a claim can be debatable even though every jurist
of reason might agree, after the COA has been granted and
the case has received full consideration, that petitioner
will not prevail.

ld¢ at 338 (quoting Barefoot, 463 U.S. at 893); see also id; at 342
(cautioning courts against conflating their analysis of the merits
with the decision of whether to issue a COA; “The question is the
debatability of the underlying constitutional claim, not the

resolution of that debate.”).6

 

6 By the same token, the Supreme Court also emphasized that “[o]ur holding

should not be misconstrued as directing that a COA always must issue.” ld. at 337.
lnstead, the COA requirement implements a system of “differential treatment of those
(continued...)

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ln this case, the defendant’s claims are clearly lacking in
substantive merit for the reasons previously stated and, therefore,
she cannot present a question of some substance about which reasonable
jurists could differ. The Court therefore DENlES a certificate of
appealability.
The Prison Litigation Reform.Act of 1995 (“PLRA”), 28 U.S.C.
§ l915(a){3), does not apply to appeals of orders denying § 2255
motions. Hereford v. United States, 117 F.3d 949, 951 (6th Cir. 1997);
cf. McGore v. Wriqqlesworth, 114 F.3d 601, 610 (6th Cir. 1997)
(instructing' courts regarding proper PLRA. procedures in prisoner
civil-rights cases). Rather, to seek leave to appeal ip_fp;ma pauperis
in a § 2255 case, and thereby avoid the $255 filing fee required by
28 U.S.C. §§ 1913 and 1917,7 the prisoner must seek permission from
the district court under Rule 24(a) of the Federal Rules of Appellate
Procedure. Hereford, 117 F.3d at 952. lf the motion is denied, the
prisoner may renew the motion in the appellate court.
Rule 24(a) states, in pertinent part that:
A party to an action in a district court who desires to
proceed on appeal g fo_rma pauperis shall file in the
district court a motion for leave to so proceed, together
with an affidavit, showing, in the detail prescribed by Form

4 of the Appendix of Forms, the party’s inability to pay
fees and costs or to give security therefor, the party's

 

6 (...continued)

appeals deserving of attention from those that plainly do not.” ld.

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Effective November 1, 2003, the fee for docketing an appeal is $250. See
Judicial Conference Schedule of Fees, l 1, Note following 28 U.S.C. § 1913. Under
28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or application
for appeal or upon the receipt of any order allowing, or notice of the
allowance of, an appeal or of a writ of certiorari $5 shall be paid to
the clerk of the district court, by the appellant or petitioner.

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belief that that party is entitled to redress, and a

statement of the issues which that party intends to present

on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons the
Court denies a certificate of appealability, the Court determines
that any appeal in this case would not be taken in good faith. lt is
therefore CERTlFlED, pursuant to Fed. R. App. P. 24(a), that any
appeal in this matter by this defendant is not taken in good faith,
and she may not proceed on appeal ip g‘§_fp;ma pauperis.

IT rs so oRDERED this Maay or Juiy, 2005.

@I%x

DANIEL B EEN
UNI ED STAT S DISTRM UDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-02734 Was distributed by fax, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

